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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

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|.

-vs- Case No. l:05cr10067-00]T

DONALD ALLEN HOLT

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case1 and is otherwise qualified for appointment ofcounsel. /itceordingly1
the Court makes the following appointment pursuant to the Criininal Justioe Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
The Federal Public Dei`ender is appointed as counsel for the Defendant.
TYPE OF APPO]NTMENT
¢ All purposes including trial and appeal

DONE and ORDERED in l l l South Highland, Jaekson, TN, this 18“‘ day ofAugust, 2005.

§///;;¢Jau

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off`lce

Assistant F ederal Public Dei`ender
lntake

DONALD ALLEN` HOLT

Th|s document entered on the" docket sheet ln compliance

with aura 55 and/or 32(1)} mch on _QM§;Q_S____

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10067 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
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Jacl<son, TN 38301

Honorable J ames Todd
US DISTRICT COURT

